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                                No. 22-10235

                UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT

                             JUST PLAY, LLC,
                              Plaintiff-Appellee,
                                      v.
                             FITZMARK, INC.,
                            Defendant-Appellant.
                    ____________________________________
                On Appeal from the United States District Court
         For the Southern District of Florida (Hon. Aileen M. Cannon)
                          No. 9:20-cv-80663-AMC


                     APPELLANT’S OPENING BRIEF

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      CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                   DISCLOSURE STATEMENT
      Appellant, FitzMark, Inc., files this Certificate of Interested Persons and

Corporate Disclosure Statement listing the parties and entities interested in this

appeal, as required by 11th Cir. R. 26.1. As a result of a corporate conversion

effective December 16, 2020 FitzMark, Inc., converted to FitzMark, LLC. FitzMark,

Inc. did not have a parent company, no publicly held corporation owned ten (10%)

percent or more of FitzMark, Inc’s stock. FitzMark, LLC does not have a parent

corporation and no publicly held corporation owns ten (10%) percent or more of

FitzMark, LLC’s stock. No publicly traded company has an interest in the outcome

of this case or appeal.

      Persons and entities that undersigned counsel believes, in good faith, have an

interest in the outcome of this appeal are:

      1.     Blanco, Pedro Albert-Counsel for FitzMark, Inc.

      2.     Bilzin, Sumberg, Baena, Price & Axelrod, LLP-Law Firm representing

Plaintiff-Appellee, Just Play, LLC

      3.     Brannon, David Lee-United States District Court Magistrate Judge

      4.     Butcher, Andrew J.-Counsel for FitzMark, Inc.

      5.     Cannon, Aileen M. Cannon-United States District Judge

      6.     Eckhart, James A.-Counsel for FitzMark, Inc.




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      7.    Emby, Charles-Appellee Just Play, LLC

      8.    FitzMark, Inc.-Appellant

      9.    FitzMark, LLC

      10.   Fitzgerald, Scott-Appellant FitzMark, LLC

      11.   Geller, Lawrence-Appellee Just Play, LLC

      12.   Goldsmith, Jerry Robert-former Counsel for Just Play, LLC

      13.   Greenberg, Geoffrey-Appellee Just Play, LLC

      14.   Just Play, LLC-Appellee

      15.   Lustrin, Lori P.-Counsel for Just Play, LLC.

      16.   Matthewman, William-United States District Court Magistrate Judge

      17.   Paynter, E. Ashley-Counsel for FitzMark, Inc.

      18.   Phillips, Kevin M.-former Counsel for FitzMark, Inc.

      19.   Reinhart, Bruce E.-United States District Court Magistrate Judge

      20.   Sakona, Shalia Marie-Counsel for Just Play, LLC

      21.   Scopelitis, Garvin, Light, Hanson & Feary, P.C.-Law Firm representing

Defendant-Appellants FitzMark, Inc.

      22.   Smedstad, Adam C.-Counsel for FitzMark, Inc.

      23.   Smith, Rodney-United States District Court Judge

      24.   Steck, Janis E.-Counsel for FitzMark, Inc.




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      25.   Vasquez-Pallett, Melissa Cade-Counsel for Just Play, LLC

                                           /s/ Andrew J. Butcher
                                           Andrew J. Butcher

                                           Attorneys for Defendant-Appellant,
                                           FITZMARK, INC.




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               STATEMENT REGARDING ORAL ARGUMENT

      FitzMark respectfully requests oral argument. This appeal presents issues

striking at foundational principles of contract formation and promissory estoppel

under Florida law. Additionally, oral argument may be helpful to the Court given

the extensive factual record developed at trial.




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                         JURISDICTIONAL STATEMENT

       The district court had jurisdiction over this case under 28 U.S.C. § 1332(a)(1)

following removal to federal court pursuant to 28 U.S.C. § 1441. ECF No. 1. The

district court had diversity jurisdiction because the parties were completely diverse

and the amount in controversy exceeded $75,000, exclusive of interest and costs. Id.

Specifically, at the time of removal, all of Just Play’s members were individuals who

were citizens of Florida and FitzMark was an Indiana corporation with its principal

place of business located in Indianapolis, Indiana, and was therefore and Indiana

citizen. Id.

       This Court has jurisdiction under 28 U.S.C. § 1291. This appeal is from a final

judgment that disposes of all parties’ claims. Based on the jury’s September 20, 2021

verdict, the district court entered final judgment on September 23, 2021. ECF No.

210. On October 18, 2021, FitzMark filed its renewed motion for judgment as a

matter of law under Fed. R. Civ. P. 50. ECF No. 226. On December 21, 2021, the

district court denied FitzMark’s renewed motion for judgment as a matter of law.

ECF No. 248. On January 19, 2022, FitzMark filed its notice of appeal. ECF No.

249. This appeal is therefore timely. Fed. R. App. P. 4(a)(4)(A).

                          STATEMENT OF THE ISSUES

       1.      Did the district court err in failing to grant FitzMark’s motion for

judgment as a matter of law when Just Play tendered goods to FitzMark’s California



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warehouse and failed to present any evidence that it rejected tendering goods as an

alternate method of accepting a May 2 Rate Quotation and Contract that precluded

Just Play’s claims?

      2.     Did the district court abuse its discretion in adopting jury instructions

and a jury form that did not reflect the promissory estoppel claim pleaded in Just

Play’s Complaint and did not conform to Florida law that estoppel claims be based

on specific, definite promises?

                                  INTRODUCTION
      This is an appeal from a $3,959,134 jury verdict in favor of Just Play on Just

Play’s promissory estoppel claim against FitzMark. Just Play is one of the largest

toy manufacturers in the world. FitzMark is warehousing company that provided

warehousing services to Just Play pursuant to the terms of a written warehouse

agreement. The existence of that written agreement precluded Just Play from

pursuing its promissory estoppel claim—Florida law will not permit parties to a

contract to pursue quasi-contractual claims when the subject matter of the parties’

dispute is governed by an express contract.

      At trial, Just Play did not dispute the import that having a written contract

would have on its ability to pursue a claim for promissory estoppel. Rather, Just Play

asserted that it could pursue its promissory estoppel claim because it never signed

its contract with FitzMark. The contract between the parties did not need to be signed



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to become effective. The form warehouse agreement contained a provision that

allowed Just Play to accept its terms by tendering goods to FitzMark more than 30

days after receiving the contract. Florida law not only recognizes the validity of

accepting warehouse agreement terms by tendering goods, the Florida code

publishes form warehouse agreements that mirror the acceptance through tender

terms contained in the parties’ warehouse contract.

      FitzMark sent Just Play the warehouse agreement on May 2, 2018 (referred to

as the “May 2 Rate Quotation and Contract”). Just Play accepted the terms of that

contract when it tendered goods to FitzMark on October 18, 2018. Recognizing that

Florida would enforce the terms of the parties’ warehouse agreement, Just Play

asserted it had rejected the warehouse agreement “in its entirety” before tendering

goods on October 18, 2018. FitzMark moved for judgment as a matter of law at the

close of Just Play’s case-in-chief, because Just Play adduced no evidence that it ever

rejected the terms of the parties’ warehouse agreement. The district court improperly

denied FitzMark’s motion. At the close of trial, FitzMark renewed its motion for

judgment as a matter of law. The district court denied FitzMark’s renewed motion

despite the absence of any evidence that Just Play rejected the parties’ May 2 Rate

Quotation and Contract.

      This Court need only apply uncontroversial black letter law on contract

formation to reverse the district court’s denial of FitzMark’s motion for judgment as


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a matter of law. Reversing the district court’s denial of FitzMark’s motion for

judgment as a matter of law leaves bedrock rules of contract formation in Florida

undisturbed. Where a contract provides for multiple methods of acceptance and a

party signifies its acceptance through one of those methods, the parties will be

deemed to have formed a contract. Allowing the district court’s ruling to stand on

the other hand, will upend Florida law on contract formation.

      Likewise, the Court should reverse the district court’s rulings on the jury

instructions and jury verdict form related to Just Play’s promissory estoppel claim.

To succeed on its claim for promissory estoppel, Florida law required Just Play to

prove by clear and convincing evidence it relied to its detriment on definite and

substantial promises made by FitzMark. Consistent with the high bar for promissory

estoppel claims under Florida law, Just Play’s Complaint identified specific

promises it alleged FitzMark made to Just Play and on which Just Play relied.

FitzMark proffered jury instructions and a jury verdict form consistent with Florida

law and Just Play’s own pleading. Specifically, FitzMark’s proposals mirrored

Florida’s pattern jury instructions for promissory estoppel claims and included the

specific promises Just Play alleged FitzMark made. Even so, the district court

rejected FitzMark’s proposals and instead instructed the jury that it need only find

that FitzMark promised to perform undefined “warehousing services.” The Court

should reverse the district court because its jury instructions and verdict form


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contradicted both the allegations in Just Play’s Complaint and black letter Florida

law requiring specific, definite promises for promissory estoppel claims.

                               STATEMENT OF THE CASE

        Nature of Case

        This is an appeal following a jury verdict involving a dispute between a

FitzMark, a warehouse provider, and Just Play, one of the world’s largest toy

manufacturers. ECF No. 249. Just Play hired FitzMark to warehouse Just Play’s

goods and claimed that it suffered damages due to FitzMark’s management of its

products. ECF No. 1 at 9–26. At trial, FitzMark contended that Just Play agreed to

be bound by a May 2, 2018 written agreement. Specifically, FitzMark sent Just Play

a Rate Quotation and Contract on May 2, 2018 (May 2 Rate Quotation and Contract),

which invited Just Play to accept by signing or by tendering goods to FitzMark.1

Although Just Play never signed the May 2 Rate Quotation and Contract, on October

18, 2018, it tendered goods to FitzMark. ECF No. 222-1 at 80.2 At trial, FitzMark

contended Just Play accepted the May 2 Rate Quotation and Contract when it

tendered goods on October 18, 2018.




1
  A list of all exhibits admitted at trial, as well as the exhibits themselves, are available at ECF
Nos. 214 through 218. The May 2 Rate Quotation and Contract was entered into evidence at trial
as Plaintiff’s Exhibit 19 (ECF No. 214-19 at 4–11), Plaintiff’s Exhibit 20 (ECF No. 214-20 at 4–
11, 15–22), and Defendant’s Exhibit 45 (ECF No. 217-45 at 4–11).
2
  Several witnesses at trial testified via video deposition. The transcripts of all of this testimony
are available at ECF No. 222.


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        Just Play concedes that it knew that the May 2 Rate Quotation and Contract

provided for acceptance by Just Play’s tender of goods and that Florida law

recognizes tender of goods as a valid form of acceptance for warehouse agreements.

ECF No. 234 at 12. Just Play acknowledged that it tendered goods after FitzMark

sent the May 2 Rate Quotation and Contract. ECF No. 222-1 at 80; ECF No. 234 at

10. Just Play also concedes that the terms in the May 2 Rate Quotation and Contract

extinguish Just Play’s claims for consequential damages. Day 2 Trial Tr. at 101-

102.3 Just Play’s sole basis for avoiding the import of FitzMark’s acceptance of its

tender of goods, was its assertion that Just Play “rejected the May [2 Rate Quotation

and Contract], in its entirety, which includes the terms of acceptance.” ECF No. 234

at 12 (emphasis in original). Just Play asserted that after it rejected the May 2 Rate

Quotation and Contract “in its entirety,” it formed an oral contract with FitzMark

and that the oral contract did not limit FitzMark’s liability for consequential

damages. Day 4 Trial Tr. at 187–88.

        To establish its “oral contract” theory, Just Play called witnesses who testified

that Just Play had an internal corporate policy against entering into written contracts

with warehouse providers and would only enter into oral agreements with warehouse

providers. None of these witnesses testified that they ever communicated this policy


3
  The trial transcript is not yet available on the district court docket. Per 11th Cir. R. 28-5, this
brief cites to the trial transcript as “Day __ Trial Tr. at __,” so that “Day 2 Trial Tr. at 102” refers
to page 102 of the transcript for the second day of trial.


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to anyone at FitzMark. Even Just Play’s President testified that he could not

remember whether Just Play entered into a written contract with FitzMark. ECF No.

222-6 at 1–2.

      In reaching its verdict, the jury answered a special interrogatory finding that

Just Play failed to prove that the parties agreed to govern their relationship by the

terms of an oral warehouse contract. ECF No. 205 at 1. The jury also found that

FitzMark failed to establish that Just Play accepted the May 2 Rate Quotation and

Contract. Id. at 2. The jury awarded Just Play $3,959,134 in damages on a

promissory estoppel theory. Id. at 3. The district court entered judgment in

accordance with the jury’s verdict and denied FitzMark’s renewed motion under

Federal Rule of Civil Procedure 50(b).

      Factual Background

      A.     FitzMark is a warehouse that employs standard warehouse
             agreements which customers accept by tendering goods.
      FitzMark is a warehousing and logistics services provider with warehousing

space in Carson, California. ECF No. 222-1 at 55; ECF No. 222-6 at 1. Like many

industries, warehouses operate using form agreements that reflect industry standard

terms, including how depositors, like Just Play, can indicate their assent to those

terms. See, e.g., 15 West’s Legal Forms, Commercial Transactions § 83:17 (5th ed.

2021) (observing these standard terms were promulgated more than half a century

ago); William H. Towle, WAREHOUSING LAW 15 (2d ed. 2001) (ECF No. 110-01).


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These terms are so pervasive and uncontroversial that several states, including both

California (the location of the FitzMark warehouse) and Florida (the location of Just

Play’s headquarters), publish them as suggested templates for warehousing

agreements. See Fla. UCC Forms F.S.A. § 677.202, Form 3; Cal. Code Forms §

7104, Form 2; see also 15 West’s Legal Forms, Commercial Transactions § 83:17

(5th ed. 2021) (observing these standard terms were promulgated more than half a

century ago).

      Florida’s model terms for alternative methods of acceptance, mirror the terms

in the May 2 Rate Quotation and Contract. Compare Fla. UCC Forms F.S.A.

§ 677.202, Form 3, Sec. 1, with May 2 Rate Quotation and Contract, Sec. 1. Both

the model terms and the May 2 Rate Quotation and Contract provide that if the

Depositor (Just Play) tenders goods to Warehouse (FitzMark) “after 30 days from

the proposal date” (April 19, 2018) “without prior written acceptance by Depositor”

and Warehouse accepts such goods, “Depositor agrees to the rates and charges as

per agreement and invoiced by Warehouse and to all terms & conditions of this

Contract.” May 2 Rate Quotation and Contract, Sec. 1(b). Just Play acknowledged

in the trial court that it was not “ignorant of [these] terms.” ECF No. 234 at 12.

      B.     Just Play approaches FitzMark to provide warehousing services.

       Just Play manufactures toys that it sells to retailers like Walmart, Target,

Amazon, Kohl’s, the Dollar Stores, Dollar General, Dollar Tree, Sam’s Club, and



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BJ’s Wholesale. Day 1 Trial Tr. at 195–96. Walmart is Just Play’s largest customer.

Id.

       In January 2018, Dove Carter, Just Play’s Director of Operations, contacted

Tony Gurrola, FitzMark’s warehouse manager, regarding Just Play’s warehousing

needs. ECF No. 222-1 at 15, 17. Mr. Carter and Michael Borchert, another Just Play

employee, visited the FitzMark warehouse in Carson, California in January 2018.

Id. at 17.

       Several months after the initial warehouse visit, Mr. Carter requested that Mr.

Gurrola submit a proposal for FitzMark’s warehouse services to Just Play. ECF No.

222-1 at 18–19. On April 11, 2018, Mr. Gurrola emailed Mr. Carter a proposed rate

sheet and warehouse agreement. ECF Nos. 214-8, 217-36. The proposal provided it

could be accepted by tendering goods and contained a liability limiter. ECF Nos.

214-8, 217-36. After reviewing the proposal, Mr. Carter expressed concerns about

certain rates. ECF No. 214-10; ECF No. 217-38; ECF No. 222-1 at 21. Although

Mr. Carter testified he told Mr. Gurrola that Just Play would not sign FitzMark’s

proposal dated April 11, 2018, ECF No. 222-1 at 20, he did not testify that he ever

told Mr. Gurrola that Just Play had a policy against entering into written agreements

with warehouse providers. Id.

       On April 19, 2018, Mr. Gurrola emailed Mr. Carter a revised version of the

proposed rate sheet and warehouse agreement. ECF Nos. 214-11, 214-12, 217-42.


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The proposal again provided it could be accepted by tendering goods and contained

a liability limiter. ECF Nos. 214-11, 214-12, 217-42.

      On May 2, 2018, Mr. Gurrola sent Mr. Carter the May 2 Rate Quotation. ECF

Nos. 214-19, 214-20, 217-45. Like the previous proposals, the May 2 Rate Quotation

and Contract explained that, if accepted, FitzMark would not be responsible for “any

loss of profit or special, indirect, or consequential damages of any kind,” and (2)

limited FitzMark’s liability for product loss or damage to $0.25 per pound of the

damaged or lost product. May 2 Rate Quotation and Contract at 1 (Operating

Parameter 3); id., Sec. 11.

      Like the previous proposals, the May 2 Rate Quotation and Contract explained

the manner in which Just Play could accept it terms, including by tendering goods:




May 2 Rate Quotation and Contract, Sec. 1 (highlighting added).

      Under the terms of the May 2 Rate Quotation and Contract, Just Play could

accept the contract by signing the document or tendering goods within 30 days of

receipt. Id. Just Play could also accept the May 2 Rate Quotation and Contract by


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tendering goods more than 30 days after receipt, if FitzMark accepted those goods.

Id.

      At trial, Just Play called Michael Borchert, who testified that he told Mr.

Carter that he should go speak to Larry Geller, Just Play’s in-house counsel, because

Just Play had a policy of not entering into written agreements with warehouse

providers. Day 2 Trial Tr. at 143. Mr. Carter testified that he spoke to Mr. Geller

about the written contract. ECF No. 222-1 at 20. Mr. Carter testified that Mr. Geller

and Mr. Borchert told Mr. Carter they had never signed warehouse contracts before

and that “they have no intentions of signing any kind of warehouse contract going

forward.” Id. at 41. Mr. Carter never testified that he told FitzMark that Just Play

had no intentions of signing any kind of warehouse contract going forward.

      On May 3, 2018, Mr. Gurrola emailed Mr. Carter, asking if he could “run with

the proposal,” that he sent the day before. ECF No. 214-22 at 2; ECF No. 214-23 at

2; ECF No. 218-37 at 2. On May 15, 2018, Mr. Gurrola checked again to see if there

was “any movement on the decision-making process.” Id. Mr. Carter responded on

May 15, 2018, that Just Play was not prepared to move forward with FitzMark yet,

but that FitzMark would be Mr. Carter’s recommended warehouse provider. ECF

No. 214-22 at 1; ECF No. 214-23 at 1; ECF No. 218-37 at 1. Mr. Carter said nothing

about rejecting the May 2 Rate Quotation and Contract. Nor was there any

communication to FitzMark (1) that Just Play objected to the acceptance by tender


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of goods provision in the May 2 Rate Quotation and Contract or (2) that Just Play

maintained a policy against entering into written warehouse agreements.

      C.    Just Play selects FitzMark as its new provider and never
            communicates any rejection of the May 2 Rate Quotation and
            Contract or the provision for acceptance through tendering goods.
      On June 25, 2018, Mr. Carter called Mr. Gurrola to tell him Just Play had

selected FitzMark as its new warehouse service provider. ECF No. 222-1 at 42.

FitzMark began assembling a team to work on the Just Play account ahead of product

delivery to the warehouse, which occurred on October 18, 2018. ECF No. 222-1 at

75, 80.

      Just Play presented no evidence that between May 2, 2018 and October 18,

2018, Just Play ever communicated to FitzMark that (1) Just Play rejected the May

2 Rate Quotation and Contract; (2) Just Play rejected the acceptance by tendering

goods provision in the May 2 Rate Quotation and Contract; or (3) Just Play had a

policy of not entering into written warehouse agreements. Additionally, Just Play

presented no evidence of any promises FitzMark made to Just Play that were not

reflected in the May 2 Rate Quotation and Contract.

      D.    Just Play tenders goods to FitzMark on October 18, 2018.

      On October 18, 2018, Just Play tendered goods to FitzMark and FitzMark

accepted those goods. ECF No. 222-1 at 80. Under the provisions of Section 1(b) of

the May 2 Rate Quotation and Contract, Just Play and FitzMark had agreed to be



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bound by the rates, terms, and conditions contained in that contract. May 2 Rate

Quotation and Contract, Sec. 1(b).

      On October 31, 2018, Mr. Gurrola emailed Mr. Carter, asking him to return a

signed copy of the May 2 Rate Quotation and Contract and to fill out a credit

application. ECF Nos. 214-38, 217-4. Mr. Gurrola told Just Play, “I also still need

the warehouse agreement returned as well. . . . Need a signed copy back when you

can please.” ECF No. 214-38 at 1; ECF No. 217-4 at 1.

      In response, Mr. Carter asked Mr. Gurrola to “resend the agreement, to ensure

I have the correct one” and asked, “can we sign the agreement after these first few

test orders and start the clock then rather than now?” ECF No. 214-38 at 1; ECF No.

217-4 at 1. The “clock” to which Mr. Carter referred, was FitzMark’s 12-month rate

lock, which began to run from the contract’s formation date—October 18, 2018.

ECF No. 222-1 at 80–81.

      In response to Just Play’s request for a “later start” to the rate clock, Mr.

Gurrola sent a revised version of the May 2 Rate Quotation and Contract, that, he

explained, extended the rate lock from 12 to 18 months. ECF No. 214-38 at 1; ECF

No. 217-4 at 1. In response, 13 days after Just Play accepted the May 2 Rate

Quotation and Contract by tendering goods, Mr. Carter told FitzMark for the first

time that Just Play “doesn’t like signing agreements.” ECF No. 214-39 at 1; ECF

No. 217-33 at 1. Mr. Carter went on to explain that Just Play did not need FitzMark


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to extend the rate lock, saying “[t]hey actually want less time, can you change to one

year?” ECF No. 214-39 at 1; ECF No. 217-33 at 1. Mr. Gurrola testified that he did

not ascribe any import to Mr. Carter’s comment about not “liking to sign

agreements” because, “[b]y shipping product in, they agreed to the terms of the

agreement.” ECF No. 222-3 at 7.

      After several months, Just Play increased the volume of goods it stored with

FitzMark and requested a rate adjustment based on the increased volume. ECF No.

214-44. In January 2019, FitzMark accommodated Just Play’s request and lowered

its rates. Id. Several months later, issues arose in processing orders for the shipment

of Just Play’s goods. ECF No. 222-1 at 13, 48. Just Play subsequently decided to

remove its product from FitzMark’s warehouse. Day 2 Trial Tr. At 27–28.

      At the end of the parties’ relationship, FitzMark refused to release some of

Just Play’s goods because Just Play had not paid its outstanding warehouse invoices.

ECF No. 218-22 at 2. Under the terms of the May 2 Rate Quotation and Contract,

FitzMark asserted its rights to place a lien on the goods that remained in FitzMark’s

warehouse. May 2 Rate Quotation and Contract, Sec. 17. The parties negotiated the

amount of FitzMark’s outstanding invoices. ECF No. 215-43; Day 2 Trial Tr. at 91–

99. During these negotiations, FitzMark repeatedly advised Just Play of its rights

and the limitations of its liability under its contract with Just Play. ECF No. 215-43;

Day 2 Trial Tr. at 91–101. No one from Just Play ever said to FitzMark that Just


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Play had (1) rejected the May 2 Rate Quotation and Contract; (2) had a policy against

entering into written contracts.

       In the absence of the terms contained in the May 2 Rate Quotation and

Contract, FitzMark would have had no legal basis on which to lien Just Play’s goods.

May 2 Rate Quotation and Contract, Sec. 17; see also Fla. Stat. §§ 677.209, 677.210.

Had there been no basis to assert its warehouseman’s lien, Just Play could have filed

an action in replevin and retrieved its goods without paying FitzMark’s lien. Just

Play never threatened to do so, nor did it dispute the validity of FitzMark’s ability to

lien its goods. ECF No. 215-43; Day 2 Trial Tr. at 91–101. Instead, the parties agreed

on payment terms and FitzMark released the goods over which it had exercised its

lien. Id.

       E.    Just Play claims to maintain an uncommunicated policy of not
             signing warehouse agreements.

       Just Play’s witnesses, including president Charlie Emby, testified at trial that

it has an internal corporate policy against entering into written agreements with

warehouses. See, e.g., Day 1 Trial Tr. at 228; Day 2 Trial Tr. at 59–60; Day 3 Trial

Tr. at 26; Day 4 Trial Tr. at 10–11. No witness testified that Just Play communicated

the existence of an internal “no written contract policy” to FitzMark. On October 31,

2018, 13 days after Just Play accepted the terms of the May 2 Rate Quotation and

Contract by tendering goods to FitzMark, Just Play sent FitzMark an email. ECF No.

222-1 at 80; ECF No. 214-38 at 1; ECF No. 217-4 at 1; ECF No. 217-32 at 1. In that


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email, Just Play asked FitzMark if Just Play could “sign the agreement after these

first few test orders.” ECF No. 222-1 at 80; ECF No. 214-38 at 1; ECF No. 217-4 at

1; ECF No. 217-32 at 1. The October 31 email is direct evidence that Just Play never

told FitzMark that it had a policy against entering into written contracts. Emby’s

own testimony demonstrates that this is so. Although Emby testified at trial that he

created the in-house “no written contracts” policy for warehouses, Day 2 Trial Tr. at

60, in his deposition (which was offered at trial) he testified he did not know whether

the contract between Just Play and FitzMark was written or oral. ECF No. 222-6 at

1–2.

       Procedural History

       A.    The Pleadings
       On March 5, 2020, Just Play filed its Complaint against FitzMark in the

Circuit Court of the Fifteenth Judicial Circuit in and for Palm Beach County, Florida;

Case No. 502020CA002358XXXXMB. ECF No. 1 at 9–26. Just Play alleged three

claims: (1) breach of contract; (2) promissory estoppel; and (3) unjust enrichment.

Id. All three claims hinged on Just Play allegation that FitzMark “failed to perform”

under “the parties’ agreement” or “the Agreement.” Id. ¶¶ 88, 93, 98, 104.

       On April 17, 2020, FitzMark removed the case to the U.S. District Court for

the Southern District of Florida based on diversity jurisdiction. ECF No. 1. On April

24, 2020, FitzMark filed its Answer and Affirmative Defenses. ECF No. 10. On



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September 14, 2020, FitzMark filed an Amended Answer and Affirmative Defenses

(ECF No. 27) and a Counterclaim for Declaratory Judgment (ECF No. 28). On

October 5, 2020, Just Play filed an Answer and Affirmative Defenses to FitzMark’s

Counterclaim. ECF No. 35.

      On December 16, 2020, the court entered an amended scheduling order. ECF

No. 51. The court ordered the parties to exchange expert witness summaries or

reports by February 16, 2021, to exchange rebuttal expert witness summaries or

reports by March 15, 2021, and to complete all expert discovery by April 5, 2021.

Id.

      On January 13, 2021, FitzMark filed a notice of errata to alert the court that it

had inadvertently attached the October 31, version of FitzMark’s Rate Quotation (in

which FitzMark offered to extend the length of its rate lock to 18-months) to its

Counterclaim. ECF No. 59. On February 19, 2021, Just Play moved to strike

FitzMark’s notice of errata. ECF No. 66. On April 6, 2021, the court granted the

motion to strike. ECF No. 81.

      B.    Discovery

      Gurrola gave 2 depositions in this case that were presented to the jury. He was

first deposed on January 14, 2021. ECF No. 183-3. In that deposition, Gurrola

explained that the May 2 Rate Quotation and Contract became effective between




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Just Play and FitzMark upon FitzMark’s first receipt of Just Play goods in October

2018. ECF No. 183-3 at 131.

      After this deposition, Just Play then deposed FitzMark’s Rule 30(b)(6)

deponent, Mark Hurley. ECF No. 183-2. During this deposition, FitzMark adopted

testimony from Gurrola’s January 14, 2021, deposition as the corporate testimony

for FitzMark on certain topics. ECF No. 183-2. After Hurley’s deposition, Just Play

asked the court for leave to depose Gurrola again, and the court “grant[ed] leave for

Just Play to conduct a limited second corporate representative deposition which shall

be limited to two hours and shall only address the certain noticed topics FitzMark

deferred to Mr. Gurrola’s testimony.” ECF No. 85 at 4. Gurrola’s second deposition

occurred on May 19, 2021. ECF No. 183-4.

      C.     Trial

                     Just Play focuses on alleged oral contract.

      The jury trial began on September 13, 2021. In presenting its case to the jury,

Just Play focused exclusively on its theory that Just Play had entered into an oral

contract with FitzMark during a June 25, 2018 telephone conversation. See, e.g.,

Plaintiff’s Opening Statement, Day 2 Trial Tr. at 140 (“We are here today, ladies

and gentlemen, because the Defendant in this case, FitzMark, entered into an oral

agreement with our client, Just Play, and FitzMark failed to do what it promised to

do under that oral agreement.”); Plaintiff’s Closing Argument, Day 5 Trial Tr. at 39



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(“We are here today because Just Play is asking you to enforce the oral agreement

that it entered into with FitzMark.”); id. (“The questions that Just Play is going to

ask you to answer are: Was there an oral contract between Just Play and FitzMark?

Did FitzMark breach that contract? And what is the amount of damages that Just

Play suffered as a result of that breach?”). On its promissory estoppel theory, Just

Play told the jury next to nothing.

                    Just Play argues Gurrola’s testimony regarding a legal
                    contention is binding.

      Over FitzMark’s objections, Just Play presented the following testimony from

Gurrola’s second deposition concerning the May 2 Rate Quotation and Contract:

      Q: And this is not the warehouse agreement that Fitzmark contends governs

      the relationship between Fitzmark and Just Play, correct?

      THE WITNESS: It is not, correct.

ECF No. 222-3 at 2.

      FitzMark objected to this testimony before trial when Just Play designated it

in its pretrial deposition designations. See, e.g., ECF No. 143-2 at 7. The court heard

argument on FitzMark’s objections. Day 1 Trial Tr. at 18–27, 119–30. FitzMark

argued that the question was beyond the scope of the topics the court had authorized

for the second deposition. Id. FitzMark further argued that the question

inappropriately sought a legal conclusion from Gurrola regarding what FitzMark

contended was the governing contract. Id.


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      After the court overruled FitzMark’s objections, FitzMark’s counsel asked

Just Play’s counsel to “commit that she would not be arguing in closing that the

corporation FitzMark is precluded from asserting that the May 2nd agreement is the

controlling agreement based on Mr. Gurrola’s testimony and if she is unprepared to

do that. I believe then that I have to move for a mistrial immediately after the

introduction of the evidence.” Day 2 Trial Tr. at 7. Just Play’s counsel confirmed

that Just Play did not intend to use the testimony for that purpose but instead would

only use the testimony to show what Gurrola “[i]n their mind, what they believed.”

Day 2 Trial Tr. at 7–8.

      Despite that representation, Just Play’s counsel argued in closing that (1)

“when Tony Gurrola speaks, it is not just individually, it is on behalf of the whole

company,” Day 5 Trial Tr. at 42–43, and that “Tony Gurrola [] is the binding voice

of the company, id. at 45–46. At the very end of the closing, just before she played

a video clip of the testimony, Just Play’s counsel said: “The final thing and perhaps

the most important is Tony Gurrola. You will hear and you have heard from

everyone on the Just Play side that the May 2nd agreement is not the agreement, the

actual document is not the agreement. But perhaps the most important person to hear

from is Tony Gurrola himself who testified about this agreement as the corporate

representative.” Id. at 63. And then right after the clip was played, Just Play’s

counsel doubled down for good measure: “The only person with personal knowledge


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testified in his corporate capacity that that email from May 2nd attaching the contract

was not the agreement[.]” Id. Finally, at the end of Just Play’s rebuttal, Just Play’s

counsel again said that FitzMark’s “own corporate representative with binding

testimony said unequivocally to you” that the May 2 Rate Quotation and Contract

was “not the agreement.” Day 5 Trial Tr. at 85.

                    FitzMark moves for judgment as a matter of law.

      At the close of Just Play’s case, FitzMark moved for judgment as a matter of

law under Fed. R. Civ. P. 50, because there was no evidence to support the formation

of the oral contract Just Play alleged was formed during the June 25, 2018 phone

call between Mr. Gurrola and Mr. Carter. Day 4 Trial Tr. at 184–92; ECF No. 198.

FitzMark explained that (1) the only two parties to that phone call were Mr. Gurrola

and Mr. Carter; and (2) both Mr. Gurrola and Mr. Carter testified that they did not

remember what the parties discussed on the phone call. Day 4 Trial Tr. at 184–92;

ECF No. 198. Indeed, Mr. Carter testified that “we never really discussed contract

terms. We only reviewed rates and scope of work.” ECF No. 222-1 at 52. In other

words, Just Play failed to present evidence of the essential terms of the alleged oral

contract reached between the parties on June 25, 2018. Day 4 Trial Tr. at 184–92;

ECF No. 198.




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      FitzMark also argued the evidence conclusively established that Just Play had

accepted the May 2 Rate Quotation and Contract when it tendered goods to FitzMark

on October 18, 2018. Day 4 Trial Tr. at 184–92; ECF No. 198.

      The court denied the motion. ECF No. 209. The court concluded that there

was evidence from which the jury could conclude that Just Play rejected the May 2

Rate Quotation and Contract, because “Dove Carter also testified [that Just Play had

a no written contracts policy], including that he conveyed that information to Tony

Gurrola.” Id. There was no evidence in the record that Mr. Carter ever told Mr.

Gurrola that Just Play had a “no written contracts” policy. Having denied FitzMark’s

motion based on evidence that did not exist, the court held Just Play produced

evidence during trial from which a reasonable jury could conclude that the parties’

entered into an oral agreement for the provision of warehouse services. Id. at 2. The

court likewise held that “because the validity of the subject contract is disputed,” the

court would not grant judgment on Just Play’s promissory estoppel and unjust

enrichment claims. ECF No. 209 at 3.

                    The court rejects FitzMark’s proposed jury instructions and
                    verdict form on promissory estoppel.

      The parties disagreed about the level of specificity required for the promissory

estoppel instructions and jury verdict form. FitzMark proposed the court to instruct

the jury, consistent with Just Play’s Complaint, that Just Play must prove: “FitzMark

promised to provide following services: (1) maintain electronic data interchange


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(EDI) file exchange capabilities; (2) provide UCC-128 carton labels; (3) generate

packing lists and bills of lading; (4) provide order management services, including

online portal visibility to inventory and order tracking, end-of-day on hand inventory

reports, and EDI Advance Ship Notices; and (5) maintain Just Play’s goods directly

on the warehouse floor and not in overhead racks.” ECF No. 177 at 48. On the other

hand, Just Play proposed the court to instruct the jury that Just Play must prove

“FitzMark promised to perform warehousing services for Just Play.” Id.

          On the verdict form, FitzMark likewise proposed the first question on the

promissory estoppel claim mirror Just Play’s allegations: “Did Just Play prove by

clear and convincing evidence that FitzMark promised to provide the following

services: (1) maintain electronic data interchange (EDI) file exchange capabilities;

(2) provide UCC-128 carton labels; (3) generate packing lists and bills of lading; (4)

provide order management services, including online portal visibility to inventory

and order tracking, end-of-day on hand inventory reports, and EDI Advance Ship

Notices; and (5) maintain Just Play’s goods directly on the warehouse floor and not

in overhead racks.” ECF No. 178-1 at 5. Just Play proposed the following for the

first question on the promissory estoppel claim “Do you find by clear and convincing

evidence that FitzMark promised to perform services for Just Play?” ECF No. 168-

1 at 4.




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      The court addressed the parties’ disagreement in open court. Day 3 Trial Tr.

at 187. FitzMark explained that the specificity in its proposed instructions matched

the promises Just Play alleged in its Complaint regarding the promises FitzMark

made. Id. at 187–89. The court stated it “would look into it further,” but that the

court’s “inclination [was] just to include the more general language offered by

Plaintiff.” Id. at 189. The court similarly took the jury verdict form regarding

promissory estoppel under advisement. Id. at 200.

      The court ultimately rejected FitzMark’s proposals. ECF No. 200. The court

instructed the jury that “To recover damages from FitzMark for promissory estoppel,

Just Play must prove all of the following by clear and convincing evidence: One:

FitzMark promised to perform warehousing services for Just Play.” Day 5 Trial Tr.

at 27. Additionally, the final verdict form asked “Did Just Play prove by clear and

convincing evidence each of the following: (1) FitzMark promised to perform

warehouse services for Just Play.” ECF No. 205 at 3.

                   The jury renders a verdict for Just Play on promissory
                   estoppel.

      On September 20, 2021, the jury returned a verdict for Just Play. ECF No.

205. The jury concluded Just Play had not proven its oral contract claim, FitzMark

had not proven the parties agreed to be bound by the May 2 Rate Quotation and

Contract, and Just Play had not proven its unjust enrichment claim. Id. The jury




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concluded Just Play proved its promissory estoppel claim and awarded $3,959,134

in damages. Id.

      D.     Renewed Motion for Judgment as a Matter of Law and Appeal

      The court entered final judgment on September 23, 2021. ECF No. 210. On

October 18, 2021, FitzMark filed its renewed motion for judgment as a matter of

law. ECF No. 226. FitzMark argued that the evidence conclusively established that

the parties entered into the May 2 Rate Quotation and Contract; accordingly, the

jury’s verdict on the promissory estoppel claim could not stand. Id. FitzMark also

argued that the Jury’s verdict for Just Play on its promissory estoppel claim was

unsupported because there was also no evidence presented that FitzMark made any

“definite and substantial” promises to Just Play independent of those contained in

the May 2, 2018 Rate Quotation. Id.

      In its opposition, Just Play cited 26 exhibits and testimony from 4 witness. Of

the 26 exhibits, only 8 reflect communications between Just Play and FitzMark

between January 2018, (the time the parties began exploring their relationship) and

October 18, 2018, (the date FitzMark accepted Just Play’s tender product to

FitzMark). ECF No. 239-1. None of the 26 exhibits on which Just Play relies ever

mentions that (1) Just Play had a policy against entering into written agreements; (2)

Just Play rejected the alternate forms of acceptance contained in the May 2 Rate

Quotation and Contract; or (3) Just Play objected to, let alone rejected, the terms and



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conditions contained in the Rate Quotation and Contract. ECF No. 239-1 (chart

summarizing exhibits on which Just Play relied).

      As to witness testimony, Just Play relied on (1) Charlie Emby; (2) Michael

Borchert; (3) Dove Carter; and (4) Tony Gurrola. None of these witnesses testified

that anyone from Just Play ever advised anyone from FitzMark that (1) Just Play had

a policy against entering into written agreements; (2) Just Play rejected the alternate

forms of acceptance contained in the Rate Quotation and Contract; or (3) Just Play

objected to, let alone rejected, the terms and conditions contained in the Rate

Quotation and Contract. ECF No. 239-2 (attachment highlighting testimony on

which Just Play relied).

      The court denied the motion. ECF No. 248. The court concluded Just Play

offered sufficient evidence to permit a jury finding that Just Play never agreed to be

bound by the May 2 Rate Quotation and Contract. Id. at 4. The court concluded that

FitzMark waived any evidentiary challenge to the promissory estoppel claim

because, in FitzMark’s first Rule 50 motion, it “focused exclusively in that motion

on the existence-of-a-written-contract theory.” Id. at 5. The court then concluded

that “viewing all of the evidence before it, a reasonable jury could conclude that

Plaintiff proved the elements of promissory estoppel by clear and convincing

evidence—specifically, that Defendant made definite and substantial promises that

it would provide satisfactory tracking, labeling and warehousing services, and that


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Plaintiff justifiably relied on those promises to its detriment by making payments to

Defendant, entrusting Defendant with its goods, and then incurring significant losses

as a result of substantial warehouse deficiencies and delays.” Id. at 6–7.

      On January 19, 2022, FitzMark timely filed its notice of appeal. ECF No. 249.

      Standards of Review

      The Court “review[s] a district court’s ruling on a renewed motion for

judgment as a matter of law de novo and appl[ies] the same standards as the district

court.” Equal Emp’t Opportunity Comm’n v. Exel, Inc., 884 F.3d 1326, 1329 (11th

Cir. 2018). For jury instructions, the standard of review “is simultaneously de novo

and deferential.” Bhogaita v. Altamonte Heights Condo. Ass’n, Inc., 765 F.3d 1277,

1285 (11th Cir. 2014). This Court applies the same standard of review to the verdict

form. McNely v. Ocala Star-Banner Corp., 99 F.3d 1068, 1072 (11th Cir. 1996).

                        SUMMARY OF THE ARGUMENT

      The written May 2 Rate Quotation and Contract between Just Play and

FitzMark renders the jury’s promissory estoppel verdict void—Florida will not allow

parties to a contract to pursue quasi contractual claims arising out of the same subject

matter. The evidence at trial established and Just Play conceded that (1) FitzMark

sent Just Play a proposed warehouse agreement on May 2, 2018; (2) the proposed

warehouse agreement could be accepted by signature or by tendering goods to

FitzMark more than 30 days after receipt; and (3) Just Play tendered goods to



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FitzMark on October 18, 2018. Just Play contended at trial, that its act of tendering

goods did not effectuate the formation of a written contract because Just Play

expressly rejected the proposed contract before Just Play tendered goods to FitzMark

on October 18, 2018.

      At the close of Just Play’s case-in-chief, FitzMark moved for judgment as a

matter of law because Just Play adduced no evidence that it ever rejected the terms

of the proposed warehouse agreement. No witness testified that Just Play ever told

FitzMark that Just Play rejected the terms of the proposed warehouse agreement. No

exhibit admitted into evidence at trial reflected Just Play’s rejection of the proposed

warehouse agreement. The district court improperly denied FitzMark’s motion. At

the close of trial, FitzMark renewed its motion for judgment as a matter of law. This

Court cannot affirm the district court’s rulings without invalidating decades of

Florida law enforcing contracts that have been accepted through tender of goods.

      The district court also committed reversible error by improperly instructing

the jury on the requirements of promissory estoppel. Florida law requires that

promissory estoppel claims be based on specific, definite promises. FitzMark

submitted proposed instructions that track Florida’s pattern jury instructions and

identified the specific promises alleged in Just Play’s complaint.

      The district court improperly rejected FitzMark’s instructions and instead

instructed the jury that it need only considered whether “FitzMark promised to


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perform warehousing services for Just Play.” The court erred by expanding Just

Play’s promissory estoppel theory beyond the “promises” Just Play alleged formed

the basis of its promissory estoppel claim. The court also erred because its

instructions conflict with the level of specificity required to prove a claim for

promissory estoppel under Florida law. A promise to perform “warehouse services”

is the kind of vague, non-specific promise that is too indefinite to support a claim

for promissory estoppel under Florida law.

                                   ARGUMENT
      The District Court Should Have Granted FitzMark’s Renewed Rule 50
      Motion.

      Federal Rule of Civil Procedure 50(a)(2) provides that a party may move for

judgment as a matter of law “before the case is submitted to the jury.” Fed. R. Civ.

P. 50(a)(2). The motion “must specify the judgment sought and the law and facts

that entitle the movant to the judgment.” Id. If the district court does not grant the

motion, then the movant may file a “renewed motion” under Rule 50(b) after trial.

See Smart v. City of Miami, 740 F. App’x 952, 958 (11th Cir. 2018) (quoting Fed.

R. Civ. P. 50(b)).

      The Court “review[s] a district court's ruling on a renewed motion for

judgment as a matter of law de novo and apply the same standards as the district

court.” Equal Emp’t Opportunity Comm’n. v. Exel, Inc., 884 F.3d 1326, 1329 (11th

Cir. 2018). Judgment as a matter of law is appropriate “only if the facts and


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inferences point overwhelmingly in favor of one party, such that reasonable people

could not arrive at a contrary verdict.” Goldsmith v. Bagby Elevator Co., Inc., 513

F.3d 1261, 1275 (11th Cir. 2008) (citation omitted). “We consider all the evidence,

and the inferences drawn therefrom, in the light most favorable to the nonmoving

party.” Id. (internal quotation marks and citation omitted).

      The jury returned a verdict in favor of Just Play on the promissory estoppel

claim. Under Florida law, however, a claim for promissory estoppel is not available

when a written contract exists between the parties covering the subject matter of the

dispute. See Baron v. Osman, 39 So. 3d 449, 451 (Fla. Dist. Ct. App. 2010). The

evidence at trial conclusively established that Just Play and FitzMark agreed to be

bound by the May 2 Rate Quotation and Contract. Accordingly, the district court

should have granted FitzMark’s renewed Rule 50 motion and directed entry of

judgment for FitzMark.

      A.     The trial evidence conclusively established the parties agreed to be
             bound by the May 2 Rate Quotation and Contract.

      The fundamentals of contract law dictate that the jury’s verdict must be

overturned and that this Court should order the district court to enter judgment in

Just Play’s favor. There is no dispute that if an express contract embracing the

subject matter of the disagreement exists, there can be no claim for implied or quasi

contract. There is no dispute that FitzMark’s May 2 Rate Quotation was an offer to

contract for warehousing services. There is no dispute that, if Just Play had accepted


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that offer, it was supported by consideration. The only dispute with respect to the

May 2 Rate Quotation is whether Just Play accepted it. If it did not, then and only

then, is it appropriate to turn to the question of whether Just Play is entitled to

damages for promissory estoppel.

      The question of whether Just Play accepted FitzMark’s offer is governed by

straight-forward principles. First, FitzMark was the master of the offer and was “free

to invite acceptance by conduct and [] to propose limitations on the kind of conduct

that constitutes acceptance.” Dye v. Tamko Bldg. Prods., Inc., 908 F.3d 675, 680

(11th Cir. 2018). A warehouse can invite a shipper to accept a written contract by

tendering of goods. Fujifilm N. Am. Corp. v. D/C Exp. & Domestic Packing, Inc.,

339 F. Supp. 3d 790, 798–99 (N.D. Ill. 2018); W.A. Taylor & Co. v. Griswold &

Bateman Warehouse Co., 719 F. Supp. 697, 702 (N.D. Ill. 1989); see also Menorah

Ins. Co., Ltd. v. W.F. Whelan Co., Inc., 110 F. App’x 524, 526–27 (6th Cir. 2004)

(an assumption exists that “contracting parties will use standardized forms for

storage agreements” and that “[b]y storing the equipment, a [depositor of goods]

accepts the terms in the standardized form”). The shipper need not sign the contract

to be bound by it because “[t]he object of a signature is to show mutuality or assent,”

and “these facts may be shown in other ways, for example, by the acts or conduct of

the parties.” Gateway Cable T. V., Inc. v. Vikoa Const. Corp., 253 So. 2d 461, 463

(Fla. Dist. Ct. App. 1971); W.A. Taylor & Co., 719 F. Supp. at 702 (holding, in


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context of warehouse contract enforcement case, the “failure to sign the agreement

is meaningless, for the Rate Quotation expressly says the act of shipping the goods

constitutes acceptance of the terms.”).

      Second, “the making of a contract depends only on what the parties said or

did[,]” not on the “parties’ thoughts or unspoken intentions.” In re Stand. Jury

Instructions—Contract and Bus. Cases, 116 So. 3d 284, 305 (Fla. 2013). “[T]he test

of the true interpretation of an offer or acceptance is not what the party making it

thought it meant or intended it to mean, but what a reasonable person in the position

of the parties would have thought it meant.” Med-Star Cent., Inc. v. Psychiatric

Hosps. of Hernando Cnty., Inc., 639 So. 2d 636, 637 (Fla. Dist. Ct. App. 1994). If

Just Play acted “in such a way as to justify” FitzMark’s belief “the writing [was]

assented to,” then Just Play should “be bound both by law and in equity.” All Fla.

Sur. Co. v. Coker, 88 So. 2d 508, 510 (Fla. 1956). That means Just Play could only

have rejected the offer by communicating its rejection to FitzMark before its tender

of goods to the California warehouse. There is no evidence to support even an

inference that Just Play rejected the May 2 Rate Quotation and Contract.

                    Just Play accepted the May 2 Rate Quotation and Contract
                    when it tendered goods to FitzMark.

      Acceptance “in the mode, at the place, and within the time expressly or

impliedly stated within the offer,” necessarily results in an enforceable contract. See

Gillespie v. Bodkin, 902 So. 2d 849, 850 (Fla. Dist. Ct. App. 2005). “There are no


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magic words required to accept an offer. It is only necessary to match the terms of

the offer to result in an enforceable contract.” Id.

      After several months of negotiations, FitzMark sent Just Play the May 2 Rate

Quotation and Contract. See supra Statement of the Case, § II.B. To be sure, it was

not the first such agreement that FitzMark had sent Just Play, but it was the version

that Just Play ultimately accepted. Id., §§ II.B & D. The timeline is dispositive. On

May 2, 2018, FitzMark sent the May 2 Rate Quotation and Contract to Just Play.

ECF Nos. 214-19, 214-20, 217-45. The May 2 Rate Quotation and Contract

contained express language that invited acceptance by the tender of goods. May 2

Rate Quotation and Contract, Sec. 1. If the tender of goods was more than 30 days

after the proposal, the language of the May 2 Rate Quotation and Contract

contemplates that a final and enforceable contract exists once FitzMark accepts those

goods. Id. On October 18, 2018, Just Play tendered goods to FitzMark and FitzMark

accepted them. ECF No. 222-1 at 80. In combination, those actions formed an

enforceable written agreement between the parties. Nowlin v. Nationstar Mortg.,

LLC, 193 So. 3d 1043, 1045 (Fla. Dist. Ct. App. 2016) (noting “acceptance is the

last act necessary to complete the contract”).

                    There is no evidence that Just Play rejected the May 2 Rate
                    Quotation and Contract.

      Just Play presented no evidence that anyone from Just Play ever advised

anyone from FitzMark that (1) Just Play had a policy against entering into written


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agreements; (2) Just Play rejected the alternate forms of acceptance contained in the

May 2 Rate Quotation and Contract; or (3) Just Play objected to, let alone rejected,

the terms and conditions contained in the May 2 Rate Quotation and Contract. The

district court’s order denying FitzMark’s renewed Rule 50 motion did not identify

any evidence that would support a finding or an inference that Just Play rejected the

May 2 Rate Quotation and Contract or any of its terms.

                          Gurrola’s testimony does not support the verdict.

      Gurrola gave 2 depositions in this case that were presented to the jury. In the

first, he explained that the final written proposal he sent to Just Play was the May 2

Rate Quotation and Contract and that this contract became effective between Just

Play and FitzMark upon FitzMark’s first receipt of Just Play goods in October 2018.

ECF No. 222-1 at 80–82.

      The district court identified a single question from Gurrola’s second

deposition to support its conclusion that sufficient evidence existed to permit a jury

finding that Just Play rejected the May 2 Rate Quotation and Contract:

      Q: And this is not the warehouse agreement that Fitzmark contends governs

      the relationship between Fitzmark and Just Play, correct?

      THE WITNESS: It is not, correct.

ECF No. 222-3 at 2.




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      This testimony cannot support an inference that Just Play rejected the May 2

Rate Quotation and Contract. First, the question inquired as to FitzMark’s legal

position as to whether a particular exhibit was the “operative contract.” But whether

a contract was formed between Just Play and FitzMark turns on facts and evidence,

not on legal contentions. Cf. CT Miami, LLC v. Samsung Elecs. Latinoamerica

Miami, Inc., 201 So. 3d 85, 96 (Fla. Dist. Ct. App. 2015) (noting legal arguments

“can’t change the facts” regarding contract formation). Lay witnesses, whether

designated as a corporate designee or not, are not competent to offer legal opinions

on the import of factual record. Montgomery v. Aetna Cas. & Sur. Co., 898 F.2d

1537, 1541 (11th Cir. 1990) (“A witness [] may not testify to the legal implications

of conduct.”).

      Second, at best, Gurrola’s response reflects his personal understanding of

FitzMark’s position—i.e., what contract “Fitzmark contends governs the

relationship between Fitzmark and Just Play.” Id. In the court’s words, the testimony

demonstrated what was in Gurrola’s “mind, what [he] believed,” at the time of

deposition. Day 2 Trial Tr. at 7–8. Gurrola’s subjective beliefs are irrelevant to

whether the parties’ objective actions led to the formation of an enforceable contract

when Just Play tendered goods on October 18, 2018. “[C]ontracts are formed by

objective acts, not subjective beliefs.” Bowen v. Taylor-Christensen, 98 So. 3d 136,




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140–41 (Fla. Dist. Ct. App. 2012), approved sub nom. Christensen v. Bowen, 140

So. 3d 498 (Fla. 2014).

      Finally, Gurrola’s testimony in May 2021 about what he believed to be

FitzMark’s then current contentions says nothing about whether Just Play’s tender

of goods nearly 3 years earlier effectuated its acceptance of the May 2 Rate

Quotation and Contract. Roden v. Bergen Brunswig Corp., 132 Cal. Rptr. 2d 549,

556 (Cal. Ct. App. 2003) (“[P]ost-acceptance communications are irrelevant.”).

                          FitzMark’s offer to extend the rate lock and the
                          parties’ rate negotiations do not support the verdict.

      The district court said “that a modified contract was sent to Plaintiff on

October 31, 2018, and that the parties continued negotiating the invoice rates up until

January 2019.” ECF No. 248 at 4. These observations do not support the verdict.

      The fact that FitzMark made an offer to Just Play to extend the rate lock is not

evidence that Just Play rejected the May 2 Rate Quotation and Contract. FitzMark’s

offer to extend the rate lock was made 13 days after Just Play had already accepted

the May 2 Rate Quotation and Contract by tendering goods on October 18, 2018.

The parties’ “post-acceptance communications are irrelevant.” Roden v. Bergen

Brunswig Corp., 132 Cal. Rptr. 2d 549, 556 (Cal. Ct. App. 2003); Mills v. Innovative

Energy Glob., Ltd., No. 3:09-CV-294-MCR-CJK, 2011 WL 1299938, at *7 (N.D.

Fla. Mar. 31, 2011) (“Because a binding contract had already been entered in




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December 2007 by Khan's offer and Mills' acceptance, the June 4 email was not

effective to revoke it.”).

      Likewise, the fact that FitzMark agreed to accommodate Just Play’s request

for lower warehousing rates in January 2019—more than 2 months after the contract

was formed—provides no evidence that Just Play “rejected” the May 2 Rate

Quotation and Contract before it tendered goods on October 18, 2018. A party’s

decision not to stand on its contractual rights has no impact on whether the contract

was formed and does not render the contract void ab initio. Cf. 13 Williston on

Contracts § 39:18 (4th ed. 2022) (parties to a contract may waive some provisions

without disturbing rest of contract).

                             Carter’s testimony that he told FitzMark “several
                             times” that Just Play would not sign does not support
                             the verdict.

      The district court said that “Plaintiff’s Director of Operations—Dove Carter—

stated that he had expressed to Defendant’s representative ‘several times’ that

Plaintiff would not sign the May 2, []Rate Quotation [].” ECF No. 248 at 5. This is

not evidence that Just Play rejected the May 2 Rate Quotation and Contract.

      First, the testimony the district court cited related to an earlier contract

proposal from FitzMark that was sent on April 11, 2018. ECF No. 222-1 at 19–20.

Carter never testified that he told anyone at FitzMark that Just Play would not sign

the May 2 Rate Quotation and Contract.



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      Second, even if Carter’s testimony could be inferred as applying to the May 2

Rate Quotation and Contract, he said only that Just Play would not sign. Carter never

testified he told anyone at FitzMark that (1) Just Play rejected the May 2 Rate

Quotation and Contract; (2) Just Play objected to the acceptance by tender of goods

provision in the May 2 Rate Quotation and Contract; (3) Just Play would not enter

into the May 2 Rate Quotation and Contract; or (4) that Just Play had a policy against

entering into written contracts. Indeed, the direct evidence admitted at trial—that

Just Play asked if it could “sign the agreement” after it had accepted the May 2 Rate

Quotation and Contract—forecloses any inference that anyone from Just Play ever

advised FitzMark that Just Play had a policy against entering into written contracts

or had rejected the May 2 Rate Quotation and Contract. ECF No. 214-38 at 1; ECF

No. 217-4 at 1. In other words, Just Play presented no evidence that it communicated

to FitzMark that Just Play’s deposit of goods in October 2018 was anything but Just

Play’s agreement to be bound by the May 2 Rate Quotation and Contract.

                          Just Play’s uncommunicated corporate policy against
                          entering warehouse agreements does not support the
                          verdict.

      Finally, in denying FitzMark’s renewed motion, the court also relied on

testimony from Charlie Emby and Michael Borchert that Just Play’s “policy was not

to enter into written contracts for warehouse services.” ECF No. 248 at 5. Again, no

witness, including Emby or Borchert, testified that Just Play ever communicated to



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FitzMark that (1) Just Play had a policy against entering into written agreements; (2)

Just Play rejected the May 2 Rate Quotation and Contract; or (3) Just Play objected

to that provision in the May 2 Rate Quotation and Contract permitting acceptance

by tendering goods. “[A] party’s latent, or undisclosed, intention not to be bound

does not prevent the formation of a binding contract.” 17 Corpus Juris Secundum

Contracts § 50.

      For that reason, “evidence of the unilateral secret intent of a party to a written

instrument is in and of itself immaterial to the actual creation of a contract.” Gendzier

v. Bielecki, 97 So. 2d 604, 609 (Fla. 1957) (citations omitted). Emby and Borchert’s

“testimony consisted of uncommunicated subjective impressions that were

irrelevant to the question of whether [Just Play] and [FitzMark] reached a[n] []

agreement.” Londono v. City of Gainesville, 768 F.2d 1223, 1227 n.4 (11th Cir.

1985).

      Rather than rely on Just Play’s uncommunicated subjective impressions, the

district court should have considered the evidence regarding the parties’ objective

manifestations. This evidence conclusively established that when Just Play tendered

goods to FitzMark on October 18, 2018, it accepted the May 2 Rate Quotation and

Contract.




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      B.     Alternatively, there was insufficient evidence to support the
             promissory estoppel claim.
                    The Jury’s verdict for Just Play on its promissory estoppel
                    claim is unsupported by the evidence presented at trial.

      Promissory estoppel requires that claims “(1) be based on promises that are

definite and substantial in nature; (2) show justifiable reliance on the promises made;

and (3) show detrimental reliance on such promises. The promise must be definite,

of a substantial nature, and established by clear and convincing evidence.” Great

Lakes Reinsurance (UK) PC v. Roca, No. 07-23322-CIV, 2009 WL 200257 (S.D.

Fla. Jan. 23, 2009) (citing W.R. Grace & Co. v. Geodata Serv. Inc., 547 So.2d 919,

920, 924–25 (Fla. 1989)).

      Just Play submitted no evidence of an oral agreement with “certain and

definite” terms. There was also no evidence presented that FitzMark made any

“definite and substantial” promises to Just Play, independent of those contained in

the May 2 Rate Quotation and Contract. No witness offered any testimony on this

point and neither party submitted any documentary evidence that described or

outlined any “definite and substantial” promise by FitzMark.

                    FitzMark preserved its challenge.

      In presenting its case to the jury, Just Play focused exclusively on its theory

that Just Play had entered into an oral contract with FitzMark during a June 25, 2018

phone call. See supra Statement of the Case, § III.C.1. At the close of Just Play’s

case, FitzMark moved for judgment as a matter of law under Fed. R. Civ. P. 50. Day

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4 Trial Tr. at 184–92; ECF No. 198. FitzMark explained that (1) the only two parties

to that phone call were Mr. Gurrola and Mr. Carter; and (2) both Mr. Gurrola and

Mr. Carter testified that they did not remember what the parties discussed on the

phone call. Day 4 Trial Tr. at 184–92; ECF No. 198. Indeed, Mr. Carter’s testimony

was that “we never really discussed contract terms. We only reviewed rates and

scope of work.” ECF No. 222-1 at 52. In other words, Just Play failed to present

evidence of the essential terms of the alleged oral contract reached between the

parties on June 25, 2018. Day 4 Trial Tr. at 184–92; ECF No. 198. Necessarily, then,

it failed to present “clear and convincing” evidence of definite and specific promises

to perform made by FitzMark to Just Play. See, e.g., ECF No. 200 at 10 (“‘Clear and

convincing evidence’ is a higher standard of proof than proof by a preponderance of

the evidence.”).

      Although FitzMark’s original Rule 50 motion did not explicitly address the

individual elements of Just Play’s promissory estoppel a claim, FitzMark sufficiently

preserved the issue for appeal. Preservation does not require “complete identity of

issues.” Ruckh v. Salus Rehab., LLC, 963 F.3d 1089, 1109 n.12 (11th Cir. 2020).

Rather, courts consider whether the Rule 50(a) and Rule 50(b) issues are “closely

related.” Id. If they are, the issue is preserved. But if “the old and new grounds ‘vary

greatly,’” then the “district court [is] prohibited from relying on those new grounds

in setting aside the jury’s verdict.” Id.; see also Bartley v. Kim’s Enter. of Orlando,


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Inc., 568 F. App’x. 827, 835 n.6 (11th Cir. 2014) (“Although FIP, in moving for

judgment as a matter of law, did not specifically argue—as it does on appeal—that

the police were entitled to detain the plaintiffs to ensure officer and public safety, it

did make the broader claim that the challenged detention was lawful. Having

preserved that broader claim in the district court, FIP is not precluded from raising

new arguments in support of that claim on appeal.” (citations omitted)).

      FitzMark’s two Rule 50 motions did not “vary greatly.” At bottom, FitzMark

argued in both that (1) Just Play accepted the May 2 Rate Quotation and Contract

when it tenerded goods on October 18, 2018; and (2) Just Play failed to adduce

evidence sufficient to show FitzMark made any other legally enforceable promise to

Just Play. Because FitzMark challenge to Just Play’s oral contract was “closely

related,” it presered its challenge to Just Play’s promissory estoppel claim.

      The District Court Adopted Erroneous Jury Instructions and Jury
      Verdict.

      A.     The court should have instructed the jury that Just Play had to
             prove by clear and convincing evidence that FitzMark made
             specific promises to Just Play on which Just Play relied.

      For jury instructions, the standard of review “is simultaneously de novo and

deferential.” Bhogaita v. Altamonte Heights Condo. Ass’n, Inc., 765 F.3d 1277, 1285

(11th Cir. 2014). “We review jury instructions de novo to determine whether they

misstate the law or mislead the jury to the prejudice of the objecting party.” Id.

(internal quotation marks omitted). “So long as the jury instructions accurately


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reflect the law,” the trial judge has “wide discretion as to the style and wording

employed.” Ermini v. Scott, 937 F.3d 1329, 1335 n.2 (11th Cir. 2019) (internal

quotation marks omitted). “We will reverse the trial court because of an erroneous

instruction only if we are left with a substantial and ineradicable doubt as to whether

the jury was properly guided in its deliberations.” Bearint ex rel. Bearint v. Dorell

Juv. Grp., 389 F.3d 1339, 1351 (11th Cir. 2004) (internal quotation marks omitted).

      In Florida, not all promises are actionable through a claim for promissory

estoppel. Rather, the promise must be “definite, of a substantial nature, and

established by clear and convincing evidence.” W.R. Grace and Co. v. Geodata

Servs., Inc., 547 So. 2d 919, 920 (Fla. 1989). Plaintiffs must point to specific

promises that are definite as to their terms; “indefinite” promises are insufficient. Id.

at 924–25.4 For example, a promisor’s statement that it “had what [the promisee]

needed” fails to “rise to the level of specificity required.” Prof. Underwriters Ins.

Co. v. Freytes & Sons Corp., Inc., 565 So. 2d 900, 903 (Fla. Dist. Ct. App. 1990);

Tome v. State Farm Fire and Cas. Co., 125 So. 3d 864, 867 (Fla. Dist. Ct. App.

2013).



4
 See also Eclipse Med., Inc. v. Am. Hydro-Surgical Instruments, Inc., 262 F. Supp.
2d 1334, 1350 (S.D. Fla. 1999) (“vague” promise was insufficient), aff’d sub nom.
Eclipse Med., Inc. v. Am. Hydro-Surgical, 235 F.3d 1344 (11th Cir. 2000)
(unpublished); Camina Serv. Inc. v. Shell Oil Co., 816 F. Supp. 1533, 1540 (S.D.
Fla. 1992) (citing W.R. Grace, the court held that “application of promissory
estoppel may be rejected if the terms of the promise are indefinite.”)

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      Given these standards, it is unsurprising that when Just Play filed its

Complaint, it explained in detail the promises on which it based its claim for

promissory estoppel. Just Play alleged:

      • FitzMark promised to “perform the following Services: a. Maintain

         Electronic Data Interchange (‘EDI’) file exchange capabilities; b. Provide

         UCC-128 carton labels; c. Generate packing lists and bills of lading; d.

         Provide order management services, including online portal visibility to

         inventory and order tracking, end-of-day on hand inventory reports, and

         EDI Advance Ship Notice (‘ASN’) to be sent at the time of shipping to

         Just Play’s customers; and e. Maintain Just Play’s goods directly on the

         warehouse floor, and not in overhead racks that require significantly more

         retrieval time.” ECF No. 1 at 24.

      • “Just Play reasonably and detrimentally relied on FitzMark’s promise to

         perform the Services.” Id.

      • “In reliance on FitzMark’s promise to perform the Services, Just Play paid

         FitzMark the agreed upon rates.” Id.

      • “FitzMark reasonably should have expected that its promise to provide the

         Services would induce Just Play’s reliance.” Id.

      • “FitzMark failed to perform the Services.” Id.




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      • “Injustice can be avoided only by enforcement of FitzMark’s promise to

         Just Play.” Id.

      Based on Just Play’s own pleading and the requirement under Florida law that

promissory estoppel claims be based on specific, definite promises, FitzMark

proposed the court to instruct the jury that Just Play must prove: “FitzMark promised

to provide following services: (1) maintain electronic data interchange (EDI) file

exchange capabilities; (2) provide UCC-128 carton labels; (3) generate packing lists

and bills of lading; (4) provide order management services, including online portal

visibility to inventory and order tracking, end-of-day on hand inventory reports, and

EDI Advance Ship Notices; and (5) maintain Just Play’s goods directly on the

warehouse floor and not in overhead racks.” ECF No. 177 at 48. FitzMark’s

proposed instructions were identical to Florida’s pattern jury instructions for

promissory estoppel, the only difference being that FitzMark’s proposal replaced the

generic “promise” with the promises alleged in Just Play’s complaint.

      The court rejected FitzMark’s proposal, instead instructing the jury that it

need only consider whether “FitzMark promised to perform warehousing services

for Just Play.” Sept. 17 Tr. at 27. The court erred for two reasons. First, the court

erred by expanding Just Play’s promissory estoppel theory beyond the “promises”

Just Play alleged formed the basis of its promissory estoppel claim. Christopher v.

Cutter Labs., 53 F.3d 1184, 1194 (11th Cir. 1995) (proper formulation of jury


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instructions must consider “the allegations of the complaint”). Just Play did not

premise its promissory estoppel claim based on an amorphous promise to provide

“warehousing services.” Rather, Just Play identified specific services it claims

FitzMark promised it. The court’s instructions should have matched what Just Play

actually plead. Id.

      Second, the court erred because its instructions conflict with the level of

specificity required to prove a claim for promissory estoppel under Florida law. The

promise must be “definite, of a substantial nature, and established by clear and

convincing evidence.” W.R. Grace, 547 So. 2d at 920. A promise to perform

“warehouse services” is the kind of vague, non-specific promise that is too indefinite

to support a claim for promissory estoppel.5

      Florida courts have reversed trial courts for failing to properly instruct juries

in cases involving claims that require proof of specific statements. In R.J. Reynolds

Tobacco Co. v. Prentice, 290 So. 3d 963, 966 (Fla. Dist. Ct. App. 2019), aff’d sub

nom., No. SC20-291, 2022 WL 805951 (Fla. Mar. 17, 2022), reh’g denied (May 17,



5
  Prof. Underwriters Ins. Co. v. Freytes & Sons Corp., Inc., 565 So. 2d 900, 903
(Fla. Dist. Ct. App. 1990); Tome v. State Farm Fire and Cas. Co., 125 So. 3d 864,
867 (Fla. Dist. Ct. App. 2013); See also Eclipse Med., Inc. v. Am. Hydro-Surgical
Instruments, Inc., 262 F. Supp. 2d 1334, 1350 (S.D. Fla. 1999) (“vague” promise
was insufficient), aff’d sub nom. Eclipse Med., Inc. v. Am. Hydro-Surgical, 235 F.3d
1344 (11th Cir. 2000) (unpublished); Camina Serv. Inc. v. Shell Oil Co., 816 F. Supp.
1533, 1540 (S.D. Fla.1992) (citing W.R. Grace, the court held that “application of
promissory estoppel may be rejected if the terms of the promise are indefinite.”)

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2022), a case involving a civil conspiracy claim, the trial court “declined to give

[defendant’s] requested instruction and instead gave [an] instruction that did not

require the jury to find that [plaintiff] relied on a specific statement.” Id. The

appellate court reversed because Florida law required the plaintiff to prove he relied

to his detriment on a specific statement by defendant. Id.; see also R.J. Reynolds

Tobacco Co. v. Bessent-Dixon, 313 So. 3d 173, 175 (Fla. Dist. Ct. App. 2021) (citing

Prentice for proposition that “trial court’s refusal to instruct the jury that the plaintiff

must rely to his detriment on a specific statement that concealed or omitted material

information about the health risks of smoking to prove a conspiracy to commit

fraudulent concealment claim was error”).

       Here, the district court’s instructions failed to properly state Florida’s law on

promissory estoppel. That is reversible error. See, e.g., Tran v. Toyota Motor Corp.,

420 F.3d 1310, 1312 (11th Cir. 2005) (instruction’s misstatement of law reversible

error); Mosher v. Speedstar Div. of AMCA Int’l, Inc., 979 F.2d 823, 825 (11th Cir.

1992) (misstatements of law were prejudicial). “Because there is uncertainty as to

whether the jury was actually misled, the erroneous instruction cannot be ruled

harmless and a new trial is required.” Miller v. Universal City Studios, Inc., 650 F.2d

1365, 1372 (5th Cir. 1981).6


6
 That the district court used Florida’s pattern instructions as the base of the starting
point for the instructions in this case does not insulate the district court’s error. The
pattern instructions are just that—a starting point. The district court erred, not in

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      B.     The verdict form should have asked the jury whether Just Play
             proved by clear and convincing evidence that FitzMark made
             specific promises.

      For similar reasons, the court erred in rejecting FitzMark’s proposed verdict

form. This Court applies same standard of review “to a special interrogatory verdict

form [as it] appl[ies] to a district court’s jury instructions.” McNely v. Ocala Star-

Banner Corp., 99 F.3d 1068, 1072 (11th Cir. 1996). The jury verdict reflects the

same errors in the court’s jury instructions. First, the jury verdict does not match

what Just Play pleaded in its Complaint. Rather, it broadens the Complaint and

permitted the jury to find for Just Play if it concluded Just Play proved that “FitzMark

promised to perform warehouse services.” ECF No. 205. Second, the jury verdict

did not reflect Florida law, which requires that, to recover on a theory of promissory

estoppel, a plaintiff must point to a specific and definite promise.

                                   CONCLUSION

      FitzMark respectfully requests that the court reverse the district court’s denial

of FitzMark’s renewed motion for judgment as a matter of law and remand with

instructions that the district court enter judgment for FitzMark. Alternatively,


starting with the pattern instructions, but in failing to adapt those instructions to the
specific allegations and theories of this case, consistent with Florida’s requirement
that a promissory estoppel claim be based on a definite and substantial promise. Cf.
Cooper v. Federated Nat’l Ins. Co., 285 So. 3d 1036, 1039 (Fla. Dist. Ct. App. 2019)
(“Contrary to FedNat’s argument, we do not believe that the standard bad faith jury
instruction sufficiently informed the jury of all the relevant law regarding bad
faith.”).

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FitzMark respectfully requests the Court vacate the judgment and remand for further

proceedings based on the trial errors below.


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                      CERTIFICATE OF COMPLIANCE

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Dated: May 18, 2022                       /s/ Andrew J. Butcher
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                            CERTIFICATE OF SERVICE

         I hereby certify that I electronically filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the Eleventh Circuit using the

Court’s CM/ECF system on May 18, 2022 and entered the required information on

the web-based system on the Court’s website.

                                                     /s/ Andrew J. Butcher
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